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                                        November 19, 2021

By ECF and Email
The Honorable Nanette K. Laughrey
Charles Evans Whittaker U.S. Courthouse
400 E. 9th Street
Kansas City, Missouri 64106

       Re: Letter from DST Systems, Inc.

Dear Judge Laughrey:

        I write to advise that Plaintiff’s Motion to Confirm the Arbitration Award, which “under
the FAA and the facts presented here” presents the Court with “effectively a ministerial task,”
Hursh v. DST Sys., Inc., No. 4:21-MC-021-9026-NKL (W.D. Mo. Oct. 4, 2021), is fully briefed
and requires no further action by the parties that would violate Judge Carter’s injunction. Plaintiff
will therefore await Your Honor’s instructions and/or Order(s) unless and until directed by this
Court to do otherwise.

       Thank you.

                                                              Respectfully submitted,




                                                              Andrew Schermerhorn

cc:    All counsel of record




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